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                    UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF NEW YORK

            JUDGMENT ON ATTORNEY FEES IN A CIVIL CASE

PENNY T. COLLINS,

                           Plaintiff,

             -v.-                                                   5:07-cv-493
                                                                    (GTS/DEP)

NEW YORK STATE DEP'T OF CORR. AND
CMTY. SERVS.; JOHN BURGE; HAROLD
GRAHAM; and TROY MITCHELL,

                           Defendants.


Decision by Court.         This action came to trial or hearing before the Court. The
                           issues have been tried or heard and a decision has been
                           rendered.

IT IS ORDERED AND ADJUDGED that Plaintiff Penny T. Collins is awarded
$252,326.25 in attorney's fees, $12,976.00 in paralegal fees, $9,042.27 in expert fees,
and $13,493.39 in costs, for a total award of $287,837.91.

All of the above pursuant to the Memorandum-Decision & Order of the Honorable Judge
Glenn T. Suddaby, dated the 22nd day of October, 2012.


DATED: October 22, 2012




                                               L. Welch
                                               Deputy Clerk
